       Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 1 of 8 PageID #:5572



                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    In re: TESTOSTERONE                                )
    REPLACEMENT THERAPY                                ) MDL No. 2545
    PRODUCTS LIABILITY LITIGATION                      )
                                                       ) Master Docket Case No. 1:14-cv-01748
                                                       )
                                                       ) Honorable Matthew F. Kennelly
                                                       )
    This Document Relates To:                          )
    Rowley v. AbbVie Inc.,                             )
    Case No. 1:15-cv-02760                             )

               ABBVIE’S MEMORANDUM IN SUPPORT OF BILL OF COSTS
         On June 14, 2018, this Court entered a Judgment in favor of Defendants AbbVie Inc. and

Abbott Laboratories (collectively “AbbVie”) on each of plaintiff Robert Rowley’s claims (Docket

No. 90). Pursuant to 28 U.S.C. § 1920, Rule 54(d) of the Federal Rules of Civil Procedure and

Local Rule 54.1, AbbVie respectfully submits this memorandum, together with the accompanying

Declaration of Andrew Rima (the “Rima Declaration”), in support of AbbVie’s Bill of Costs,

submitted herewith. As stated in the Rima Declaration, these costs are correct and were necessarily

incurred in this action and the services for which the fees have been charged were actually and

necessarily performed.

                                        LEGAL STANDARD

         As the prevailing party, AbbVie is entitled to recover costs from plaintiff. See Weeks v.

Samsung Heavy Indus. Co., Ltd., 126 F.3d 926, 945 (7th Cir. 1997). Rule 54(d)(1) provides that the

prevailing party should be allowed costs, “[u]nless a federal statute, these [Federal Rules of Civil

Procedure], or a court order provide otherwise.” Among the costs the Court may tax are: “(1) Fees

of the clerk and marshal; (2) Fees for printed or electronically recorded transcripts necessarily


 


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     Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 2 of 8 PageID #:5573



obtained for use in the case; (3) Fees and disbursements for printing and witnesses; [and] (4) Fees

for exemplification and the costs of making copies of any materials where the copies are

necessarily obtained for use in the case.” 28 U.S.C. § 1920; see also Weeks, 126 F.3d at 945 (“The

Supreme Court has determined that 28 U.S.C. § 1920 defines the term ‘costs’ as it is used in Rule

54(d).”). There is “a strong presumption that the prevailing party will recover costs, with the

ultimate decision resting within the district court’s discretion.” Id.

                                            DISCUSSION

         As set forth in the accompanying Bill of Costs and discussed in more detail below, AbbVie

seeks (1) $21,017.32 for trial transcripts and original deposition costs (comprised of $12,089.70 for

trial transcripts and $8,927.62 for deposition costs); (2) $4,489.96 for witness costs; and (3)

$52,195.32 for exemplification expenses and copying costs, for a total amount of $77,702.60. See

Rima Decl. Ex. A (Summary of Costs).

    I.    Fees for printed or electronically recorded transcripts necessarily obtained for use
          in the case - 28 U.S.C. § 1920(2)

          A.     Trial Transcripts

         AbbVie seeks $12,089.70 for the pretrial conference and eight days of trial transcripts,

including the Realtime feed and daily delivery, which were necessary for AbbVie to prepare for its

examinations, its closing statement, and its Motion for Judgment as a Matter of Law (Docket Nos.

82, 83). See Rima Decl. Ex. B. Such costs were billed at the usual, official rate, and are properly

recoverable. See also In re Dairy Farmers of Am., Inc., 80 F. Supp. 3d 838, 855–56 (N.D. Ill.

2015) (awarding Realtime charges to prevailing party); Majeske v. City of Chicago, 218 F.3d 816,

825–26 (7th Cir. 2000) (upholding district court’s award of costs associated with daily transcripts).




 


                                                    2
     Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 3 of 8 PageID #:5574



        B.      Deposition Transcripts

       AbbVie seeks $8,927.62 for a portion of the costs associated with deposition transcripts.

See Rima Decl. Ex. C. Recovery of costs for deposition transcripts is authorized if the depositions

were “reasonably necessary.” Jack-Goods v. State Farm Mut. Auto. Ins. Co., No. 01 C 6536, 2004

WL 1672864, at *2 (N.D. Ill. July 23, 2004) (“The transcripts need not be absolutely indispensable

in order to provide the basis of an award of costs; it is enough that they are ‘reasonably

necessary.’”) (internal citations omitted). AbbVie seeks a portion of the costs related to obtaining

the deposition transcripts of six witnesses who testified at trial, as these transcripts were reasonably

necessary to prepare for direct and cross examinations. AbbVie also seeks costs relating to the

deposition transcripts of three witnesses—Verle Duane Bohman, Teryl Hunsaker, and Douglas

Hyldahl—whose deposition testimony was recited in Court, as these transcripts were necessary for

selecting affirmative and counter designations. As set out in the Rima Declaration, AbbVie seeks a

portion of the costs for the following deposition transcripts:

     1. Bierer, Barbara;

     2. Khera, Mohit;

     3. Nand, Sucha;

     4. Pence, Peggy;

     5. Rinder, Henry;

     6. Bohman, Verle Duane;

     7. Hunsaker, Teryl;

     8. Hyldahl, Douglas;

     9. Rowley, Robert.

       Copies of the invoices for these depositions are attached as Exhibit C to the Rima
 


                                                   3
         Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 4 of 8 PageID #:5575



Declaration.

              Local Rule 54.1(b) limits deposition transcript costs to the “regular copy rate as established

by the Judicial Conference of the United States and in effect at the time the transcript or deposition

was filed.” See N.D. Ill. L.R. 54.1(b). During the time discovery was taken in this case, that

amount was $3.65 per page for original transcripts. See N.D. Ill. General Order 12-0003 (Jan. 26,

2012). Additionally, “[c]ourt reporter appearance fees may be awarded in addition to the per-page

limit, but the fees shall not exceed the published rates on the Court website.” See L.R. 54.1. Those

rates are $110 for one half day (4 hours or less), and $220 for a full day attendance fee. See N.D.

Ill. Transcript Rates, (available at http://www.ilnd.uscourts.gov/Pages.aspx?page=transcriptrates,

last visited June 26, 2018). AbbVie has reduced its requests where the court reporter attendance fee

or the actual deposition transcript cost exceeded the limits for this jurisdiction.

              For depositions arranged by plaintiff, AbbVie seeks the actual, as-billed amounts. See

Intercontinental Great Brands LLC v. Kellogg N.A. Co., No. 13 C 321, 2016 WL 316865, at *3

(N.D. Ill. Jan. 26, 2016) (Kennelly, J.) (taxing “the full cost of the deposition transcripts for the

depositions that IGB arranged”). For depositions arranged by AbbVie, AbbVie seeks only the

regular copy rate referenced in N.D. Ill. L.R. 54.1.

              For those witnesses whose deposition testimony is potentially applicable to any of the six

other bellwether trials, AbbVie seeks only one seventh of the total available costs. This applies to

Drs. Bierer, Khera, Pence, and Rinder.1 Additionally, although AbbVie incurred costs associated

with the depositions of numerous AbbVie employees (e.g., Michael Miller, Steven Wojtanowski,

etc.), it does not now seek recovery of those costs because those depositions could potentially be


                                                            
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 Because Dr. Nand served as an expert in only this case, AbbVie seeks the full cost of his
deposition.
 


                                                               4
       Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 5 of 8 PageID #:5576



used in future trials. AbbVie reserves the right to seek recovery for some or all of those costs in the

future.

    II.     Costs for witnesses - 28 U.S.C. § 1920(3)

           Pursuant to 28 U.S.C. § 1821(c)(4) and (d), AbbVie seeks costs for per diem lodging (at

$215 per day) and subsistence (at $74 per day) for each day of trial testimony, as well as normal

travel expenses, in the total amount of $4009.96 for Ballina, Bierer, Khera, Miller, and

Wojtanowski. See Rima Decl. Exs. F-H. These amounts were calculated for witnesses for whom

the location of the trial “is so far removed from [their] residence . . . as to prohibit return thereto

from day to day.” 28 U.S.C. § 1821(d)(1). See Majeske v. City of Chicago, 218 F.3d 816, 825–26

(7th Cir. 2000) (“Collectively, 28 U.S.C. §§ 1821 and 1920(3) authorize the award of costs to

reimburse witnesses for their reasonable travel and lodging expenses.”); Hillmann v. City of

Chicago, No. 04 C 6671, 2017 WL 3521098, at *10 (N.D. Ill. Aug. 16, 2017) (“[C]ourts in this

District have routinely awarded costs for expert witnesses’ travel expenses.”).

           Pursuant to 28 U.S.C. § 1821(b), AbbVie also seeks $480 to pay “an attendance fee of $40

per day for each day’s attendance” at trial, and the same fee for each day “necessarily occupied in

going to and returning from the place of attendance,” to all of AbbVie’s witnesses. See 28 U.S.C. §

1821(b); Rima Decl. at pp. 3-6; Nat'l Diamond Syndicate, Inc. v. Flanders Diamond USA, Inc., No.

00 C 6402, 2004 WL 1557765, at *4 (N.D. Ill. July 8, 2004) (taxing as costs the attendance fees in

addition to travel and subsistence allowance).

    III.    Fees for exemplification and copies of papers necessarily obtained for use in the case
            - 28 U.S.C. § 1920(4)

           Pursuant to 28 U.S.C. § 1920(4), AbbVie seeks $48,552 for the cost of “exemplification” in

the form of “graphics services” and “demonstrative aids” presented to the jury in the form of


 


                                                    5
     Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 6 of 8 PageID #:5577



“computer-based . . . displays” during trial. See Cefalu v. Vill. of Elk Grove, 211 F.3d 416, 427-28

(7th Cir. 2000); see also Rima Decl. Ex. D. Consistent with the Seventh Circuit’s expansive view

of reimbursable exemplification, courts may award significant costs for computer-generated trial

graphics “necessarily obtained for use in the case,” Cefalu, 211 F.3d at 428 (quoting 28 U.S.C. §

1920(4)); see also Springer v. Ethicon, Inc., No. 17 C 3930, 2018 WL 1453553, at *16-17 (N.D.

Ill. Mar. 23, 2018) (Kennelly, J.) (awarding $16,930 in costs for “computerized demonstrative

exhibits and multimedia presentation” including “use of PowerPoint presentations and documents

displayed on a courtroom projector”); LG Elecs. U.S.A., Inc. v. Whirlpool Corp., No. 08 C 0242,

2011 WL 5008425, at *7 (N.D. Ill. Oct. 20, 2011) (awarding $109,833.75 in costs for

exemplification work and compensation to technology consultants). Particularly given the rapid

pace of the Rowley trial, design and presentation of computerized exhibits was necessary to explain

efficiently complex scientific and statistical concepts to a jury of laypeople. See Springer, 2018

WL 1453553, at *17 (noting, in complex medical products liability action, that computerized

demonstratives were “reasonably necessary to present [the] case at trial”). For example, AbbVie’s

technicians produced intricate graphics explaining the biological mechanisms by which blood clots

occur; changes in the plaintiff’s hematocrit levels over time; the plaintiff’s complex medical

history; and the epidemiology of venous thromboembolism.

       AbbVie also seeks $3,643.32 for the cost of creating three copies of all trial exhibits—a

copy each for the witness, plaintiff’s counsel, and AbbVie’s counsel. See Rima Decl. Ex. D.

                                             CONCLUSION

       For the foregoing reasons, AbbVie respectfully request that the Court tax plaintiff with the

costs set forth in AbbVie’s Bill of Costs.



 


                                                  6
       Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 7 of 8 PageID #:5578



    Date: July 16, 2018                         Respectfully submitted,

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                                            7
        Case: 1:15-cv-02760 Document #: 94 Filed: 07/16/18 Page 8 of 8 PageID #:5579



                                      CERTIFICATE OF SERVICE

           I hereby certify that on July 16, 2018, I electronically filed the foregoing document to the

    Clerk of the United States District Court using the CM/ECF system for filing and service to all

    parties/counsel registered to received copies in this case.


                                                          /s/ Tarek Ismail




 


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